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                  DISTRICT COURT OF THE VIRGIN ISLANDS
                    DIVISION OF ST. THOMAS & ST. JOHN

                                     )
                                     )
 In re:                              )
                                     )
 ORPAH BARBEL,                       )
                                     )
                      Debtor.        )             Civil No. 2010-137
                                     )
                                     )
                                     )
                                     )
                                     )
 ___________________________________ )


 ATTORNEYS:


 Orpah Barbel.
      Pro se appellant.

 Carol Ann Rich, Esq.
 St. Thomas, U.S.V.I.
      For FirstBank of Puerto Rico.


                             MEMORANDUM OPINION

 GÓMEZ, C.J.

       Before the Court is the appeal by debtor-appellant, Orpah

 Barbel(“Barbel”) of a December 10, 2010 order1 of the United

 States Bankruptcy Court for the District of the Virgin Islands

 (the “Bankruptcy Division”). That order authorized procedures for

 sales of the debtor’s assets; approved sales of the debtor’s a

 assets; and approved a form of notice of sales and assets.


      1
        The Court notes that the order was signed on December 10, 2010.   It was
 then docketed on December 13, 2010.
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                  I. FACTUAL AND PROCEDURAL BACKGROUND

       On March 13, 2009, Barbel filed a voluntary petition under

 Chapter 13 of the United States Bankruptcy Code, 11 U.S.C. §§

 1301 et seq. (“Chapter 13”). FirstBank of Puerto Rico (“First

 Bank”) filed a notice of appearance in the bankruptcy proceeding,

 as successor in interest to Chase Manhattan Bank (“Chase”), a

 secured creditor of Barbel.

       On May 7, 2009, First Bank filed a motion in the Bankruptcy

 Division to convert the Chapter 13 case to a proceeding under

 Chapter 7 of the United States Bankruptcy Code, 11 U.S.C. §§ 701

 et seq. (“Chapter 7”).

       On June 3, 2009, the Bankruptcy Division entered an order

 granting First Bank's motion to convert the matter to Chapter 7.

       On October 8, 2010, the Bankruptcy Division entered an order

 approving the Chapter 7 trustee’s motion for an order authorizing

 procedures for the sale of the debtor’s assets and approving the

 form of notice of sale.

       On December 1, 2010, a public auction was held for the

 following assets:

       1. Parcel No. 19F, Estate Solberg, Northside Quarter,
       St. Thomas, VI (“Parcel No. 19F”); and
       2. Plot No. 23, Estate Crystal Gade, Queen Quarter, St.
       Thomas, VI (“Plot No. 23")
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 pursuant to the bid procedures approved by the Bankruptcy

 Division.

       First Bank submitted credit bids for both properties.             It

 submitted a credit bid in the amount of $200,000 for Parcel No.

 19F, and a credit bid in the amount of $475,000 for Plot No. 23.

       On December 7, 2010, the Trustee filed his Report on the

 Sale.   He attached thereto copies of First Bank’s credit bids.

 On December 8, 2010 the Trustee amended his report to remedy a

 clerical error.

       On December 13, 2010, the Bankruptcy Division entered an

 order approving the sale.       Barbel timely appealed that order.


                II. JURISDICTION AND STANDARD OF REVIEW

       The Court has jurisdiction to review this case pursuant to

 Title 28 U.S.C. §158(a).2 The Court will review the Bankruptcy

 Division's findings of fact for clear error and will exercise

 plenary review over questions of law. In re Barbel, No. 01-221,

 2004 U.S. Dist. LEXIS 19417, at *2, 2004 WL 220344 (D.V.I. Sept.

 21, 2004) (“A district court reviews the Bankruptcy Division's

 conclusions of law de novo but may only review findings of fact



       2
         This section provides that district courts of the United States are
 authorized to hear appeals “from final judgments, orders, and decrees” of
 bankruptcy judges.” 28 U.S.C. § 158(a).
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 that are clearly erroneous.”) (citing Fed. R. Bankr.P. 8013; In

 re Excalibur Auto. Corp., 859 F.2d 454, 457 (7th Cir.1988)).

 Applying that standard, a bankruptcy court will be held to have

 abused its discretion “when its ruling is founded on an error of

 law or a misapplication of law to the facts.” In re O’Brien

 Envtl. Energy, Inc., 188 F.3d 116, 122 (3d Cir. 1999).


                              III. ANALYSIS

       Barbel first argues that the Bankruptcy Division erred in

 declining to allow her to litigate the issue of First Bank’s

 standing to proceed with a claim against her.          Specifically, she

 asserts that First Bank is not a successor in interest to a

 February 15, 1999, Judgment of Debt that the Superior Court of

 the Virgin Islands granted Chase Manhattan Bank (“Chase”) against

 Barbel.   She argues that the Bankruptcy Division deprived her of

 an opportunity to object to First Bank’s standing, by declaring

 the issue barred on res judicata grounds.          She asserts that the

 Bankruptcy Division failed to evaluate whether any recognized

 exception to res judicata was applicable.

       “Res judicata encompasses two preclusion concepts-issue

 preclusion, which forecloses litigation of a litigated and

 decided matter, and claim preclusion (often referred to as direct

 or collateral estoppel), which disallows litigation of a matter
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 that has never been litigated but which should have been

 presented in an earlier suit.” Fullman v. Potter, 385 F. App’x.

 263, 265 (3d Cir. 2010).      “The prerequisites for the application

 of issue preclusion are satisfied when: “(1) the issue sought to

 be precluded [is] the same as that involved in the prior action;

 (2) that issue [was] actually litigated; (3) it [was] determined

 by a final and valid judgment; and (4) the determination [was]

 essential to the prior judgment.” Burlington N. R. Co. v. Hyundai

 Merchant Marine Co., Ltd., 63 F.3d 1227, 1231 (3d Cir.

 1995)(quoting In re Graham, 973 F.2d 1089, 1097 (3d Cir. 1992)).

          Not only has Barbel litigated this issue previously in the

 Bankruptcy Division, she has litigated it in this Court in a

 previous appeal.     The Court addressed First Bank’s ownership of

 interest in Chase’s Judgment in, In re Barbel, Civil No. 2009-

 134.    There, the Court denied her appeal, noting that the issue

 of the ownership had previously been determined and need not be

 reexamined:

        The issue of First Bank’s ownership of Chase’s interest
        was addressed and decided in a previous Chapter 13
        petition filed by Barbel. Bankr. No. 304-00020. In that
        action, Barbel contended that the Properties were not
        subject to the Judgment because Chase was still the
        owner and servicer of her “loan”, and a Form 1099A
        issued in 2002 proved that Chase had “written it off”.
        The Bankruptcy Division ordered First Bank to provide
        an explanation regarding ownership of the Judgment.
        First Bank offered the Crites Affidavit in response.
        (Exhibit 1 to Docket 31). On February 2, 2005,
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       Bankruptcy Division entered an order that “the Debtor’s
       objection to the Crites Affidavit is overruled and
       dismissed with prejudice” and that “Debtor owes First
       Bank and First Bank is the mortgagee Debtor must
       include in her chapter 13 plan. . . .” (Exhibit 7 to
       Docket 31).

       As such, Barbel’s contentions that First Bank does not
       possess Chase’s interest and that the Judgment is
       inaccurate constitute an attempt to relitigate
       previously litigated issues. Because one Chapter 13
       action is not the appropriate forum in which to appeal
       the decisions rendered in other Chapter 13 cases, the
       Court will not revisit these decisions.

 (Mem Op. at 7.)      Here, Barbel failed to raise the argument that

 her challenge fell within an exception to the res judicata

 principle in the Bankruptcy Division .         “Generally, issues not

 properly raised before the Bankruptcy Court are waived.” In re

 Barbel, 183 F. App’x 227, 230 (3d Cir. 2006).          Even if her

 challenge was not waived by such failure, she has not established

 that the ownership of interest issue falls within a recognized

 exception to the res judicata doctrine.

       Barbel also challenges the Bankruptcy Division’s approval of

 the sale.    Barbel asserts that the credit bids were inadequate

 and the sale should not have proceeded without an appraisal.

 Additionally, she argues that the auction was not sufficiently

 publicized.    Accordingly, she argues that the Bankruptcy Division

 should not have countenanced the sale because the sale ran afoul

 of the requirements of 11 U.S.C. § 363 (“Section 363").
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       “Sales in bankruptcy are governed by the provisions of 11

 U.S.C. § 363 which, inter alia, authorize the trustee, after

 notice and a hearing, to use, sell, or lease property of the

 debtor’s estate.” In re Flynn, 417 F. App’x 188, 188 (3d Cir.

 2011).

       Subsection k of Section 363 provides:

       a sale under subsection (b) of this section of property
       that is subject to a lien that secures an allowed
       claim, unless the court for cause orders otherwise the
       holder of such claim may bid at such sale, and, if the
       holder of such claim purchases such property, such
       holder may offset such claim against the purchase price
       of such property.

       11 U.S.C. § 363(k). “It is well settled among district and

 bankruptcy courts that creditors can bid the full face value of

 their secured claims under 363(k).” In re SubMicron Sys. Corp.,

 432 F.3d 448, 460 (3d Cir. 2006)(collecting cases).            The

 existence of credit bids without more does not taint the sale.

       Barbel argues that “First Bank’s credit bids total

 approximately half of the estimated value of the subject

 properties” and as such “do not adequately reflect the value of

 the estate.”(Appellant’s Br. at 11.)         Other than her bare

 assertion of a valuation of $1.2 Million, Barbel has failed to

 offer the estimate on which she relies.         Insofar as her appeal

 asserts that the Bankruptcy Division erred in failing to obtain

 an appraisal of the properties, that argument is unavailing.               The
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 Court is unaware of any authority establishing that an appraisal

 is a necessary prerequisite to a valid sale under § 363.             The

 “highest and best offer” has served as a relevant indicator of an

 asset’s value. See In re Moore, 608 F.3d 253, 263 (5th Cir. 2010)

 (“As a general matter the trustee must demonstrate that the

 proposed sale price is the highest and best offer[.]”); In re

 Boston Generating, LLC, 440 B.R. 304, 323 (Bankr. S.D.N.Y.

 2010)(stating that although there was no “per se” appraisals of

 debtor’s assets, “several data points indicate the potential

 value of their assets,” among them the “highest and best offer”

 received for sale of assets).       Here, the First Bank credit bids

 constitute the highest and best offers.         The bids were advanced

 in the course of a public auction, that was publicized in a

 newspaper regularly issued and of general circulation in the U.S.

 Virgin Islands which uses newsprint.         The fact that the credit

 bids were the only offers does not render them inherently

 deficient.

       Barbel has failed to demonstrate that fraud or mistake

 encroached on the conduct of the sale.         Without such a showing,

 the Court would be ill-advised to disturb the sale. See, e.g., In

 re Food Barn Stores Inc., 107 F.3d 558, 564 (8th Cir. 1997) (“At

 some point, such as when the court actually enters an order

 approving the sale, expectations become sufficiently crystallized
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 so as to render it improper to frustrate anticipated results

 except in the limited circumstances where there is a grossly

 inadequate price or fraud in the conduct of the proceedings.”);

 In re Webcor, Inc., 392 F.2d 893, 899 (9th Cir. 1968) (noting

 that “there must be stability in such sales and a time must come

 when a fair bid is accepted and the proceedings are ended” such

 that once a sale is confirmed “ existence of fraud, mistake, or a

 like infirmity would be necessary to set that confirmed sale

 aside”); Hayes v. Sullivan, 1992 WL 486914, * at 4 (D. Mass.

 1993)(stating that a sale should only be vacated when “fraud,

 unfairness or mistake” marked the sale or “the price brought at

 the sale was so grossly inadequate as to shock the conscience of

 the court and raise a presumption of fraud, unfairness or

 mistake”).    As such, the Court will affirm the Bankruptcy

 Division’s order authorizing procedures for sales; approving the

 sales; and approving a form of notice of the sales and assets.

 An appropriate Order follows.
